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LAW OFFICE OF GREGORY JAVARDIAN, LLC
BY: MARY F. KENNEDY, ESQUIRE
ID# 77149
1310 INDUSTRIAL BLVD.
1ST FLOOR, SUITE 101
SOUTHAMPTON, PA 18966
(215) 942-9690
Attorney for Citizens Bank of Pennsylvania

                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                          Chapter 13 Proceeding
 Natacha Rios
                                                 16-14643 JKF

                                  Debtor(s)

                               CERTIFICATION OF DEFAULT

        AND NOW, comes secured Creditor, Citizens Bank of Pennsylvania (Movant) by and
through its counsel, Mary F. Kennedy, and files this Certification of Default to obtain an order for
Relief from the Automatic Stay due to Debtor’s failure to comply with the terms of the
Stipulation resolving a Motion for Relief from Stay and avers the following:

       1.       On April 12, 2017, the attached Stipulation was approved by the Court. See
                Exhibit “A” attached.

       2.       Paragraph 4 of the Stipulation provides that “Commencing with the April 21,
                2017 payment the Debtor(s) shall resume and shall continue to make all regular
                post-petition mortgage payments when they are due in accordance with the said
                Note and Mortgage.”

       3.       Paragraph 6 of the Stipulation requires the Debtor to comply with all conditions
                of the Stipulation and “if such payments or conditions are not timely made,
                Movant may provide the Debtor(s) and their counsel with ten (10) days written
                notice if default.” If the default is not cured within ten (10) days the Stipulation
                provides that Movant may certify default to the Court and request the entry of an
                order granting Movant relief from the stay”.

       4.       Debtor did not make payments as required by the Stipulation and on July 5, 2018
                Movant sent a Notice of default to the Debtor and Debtor’s Counsel, Brad J.
                Sadek, Esquire as required by paragraph 6 of the Stipulation. See Exhibit “B”
                attached.
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       5.     As of the date of the filing of this Certification of Default Movant has not
              received the following payments that were due pursuant to the Stipulation:


                4/21/2018 regular payment                                        $350.05
                5/21/2018 regular payment                                        $400.96
                6/21/2018 regular payment                                        $392.13
                Attorney Fees for Notice of Default & Certification of           $200.00
                Default
                TOTAL                                                          $1,343.14



       WHEREFORE, Movant respectfully requests this Honorable Court ORDER:
That Relief from the Automatic Stay be granted to Citizens Bank of Pennsylvania to proceed
with foreclosure action to obtain all other Relief available under Non-Bankruptcy Law. And that
Bankruptcy Rule 4001(a)(3) is not applicable and Movant is allowed to immediately proceed
with foreclosure and all other relief available under the Non Bankruptcy law.

                                                    Respectfully Submitted:

                                                    /s/ Mary F. Kennedy
                                                    Attorney for: Citizens Bank of Pennsylvania
                                                    Attorney ID: 77149
Date: July 18, 2018
